Case 5:25-mj-00323-AMG Document1- Filed 05/19/25 Page 1 of 16

AO 106 (Rev, 04/10) Application for a Search Warrant AUTHORIZED AND APPROVEDIDATE. _k, Blackwell 9/15/2025 _

UNITED STATES DISTRICT COURT ~ 6/19 [2s-

for the
Western District of Oklahoma

In the Matter of the Search of

(Briefly describe the praperty ta he searched

or identify the person hy name and address)
ONE BLUE MOTOROLA PHONE IN A BLACK CASE. ONE
BLACK SAMSUNG PHONE IME] 3534951 11151580, AND ONE
DARK BLUE SAMSUNG PHONE IME] 359606631551 166,

Case No. MJ- 25- 323-AMG

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorncy for the government, request a search warrant and state under
penalty of perjury that [ have reason to believe that on the following person or property tidentify the person or describe the
Property ta he searched and give its lacatians:

See Attachment "A," which is attached and incorporated by reference herein.

located in the Western District of _ ____ Oklahoma , there is now concealed identify the
person or describe the property to he seized):

See Attachment "B,” which is attached and incorporated by reference herein.

The basis for the search under Fed. R. Crim. P. 41 (c) is (check ane ar mare?.
if evidence of a crime:
i] contraband, fruits of crime, or other items illegally possessed:
O property designed for usc, intended for usc, or used in committing a crime:
7] a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of.
Code Section Offense Description

18 U.S.C. § 1153 Child Sexual Abuse in Indian Country
21 O.S. § 843.5(E)

The application is based on these facts:
See attached Affidavit of FBI Agent Paige Lang, which is incorporated by reference herein.

wf Continued on the attached sheet.

7] Delayed notice of _ days (give exact ending date if more than 30 days: ____ ) is requested
under 18 U.S.C, § 3103a, the basis of which is set forth on the attached sheet.

ae ‘Ss signa a

Swom to before me and signed in my presence.

Date: Spit J2—

City and state: Oklahoma City, Okiahoma AMANDA MAXFIELD GREEN

Printed name and title

U.S, Magistrate Fale

Case 5:25-mj-00323-AMG Document1- Filed 05/19/25 Page 2 of 16

THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

IN THE MATTER OF THE SEARCH OF
ELECTRONIC DEVICES: ONE BLUE
MOTOROLA PHONE IN A BLACK CASE, | Case No.
ONE BLACK SAMSUNG PHONE IMEI
353495111151580, AND ONE DARK BLUE | Filed Under Seal
SAMSUNG PHONE IMEI _,
35960663 1551166.

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Paige Lang, a Special Agent with the Federal Bureau of Investigation (FBI), being duly
sworn, depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. Iam a Special Agent with the Federal Bureau of Investigation and have been since
February of 2022. During my training and since that time, I have received formal training from the
FBI as well as training through contact with experts from various law enforcement agencies
regarding a wide range of criminal offenses including child sexual abuse in Indian Country.

2. As a Special Agent with the FBI, I am authorized to investigate violations of the
laws of the United States and to execute warrants issued under the authority of the United States.

3. The information contained in this affidavit is based upon my personal knowledge
and observation, my training and experience, conversations with other law enforcement officers
and witnesses, and review of sworn affidavits, documents and other records. This Affidavit is made
in support of an application for a warrant to search the following digital devices: One blue
Motorola phone in a black case (SUBJECT DEVICE 1), one black Samsung phone IMEI
353495111151580 (SUBJECT DEVICE 2), and one dark blue Samsung phone, IMEI:

359606631551166 (SUBJECT DEVICE 3) (hereinafter referred to as the “SUBJECT

Case 5:25-mj-00323-AMG Document1- Filed 05/19/25 Page 3 of 16

DEVICES”). The SUBJECT DEVICES are currently located in the Western District of Oklahoma,
in the Evidence Control Room at the FBI Oklahoma City Field office in Oklahoma City,
Oklahoma. The SUBJECT DEVICES are described in detail in Attachment A to this affidavit. I
request a warrant to search the SUBJECT DEVICES for the items specified in Attachment B
hereto, which constitute instrumentalities, fruits, and evidence of violation of 18 U.S.C. § 1153
and 21 O.S. § 843.5(E) (Child Sexual Abuse in Indian Country).

4, This investigation, described more fully below, has revealed that there is probable
cause to believe that evidence of child sexual abuse are located on the SUBJECT DEVICES.
Since this affidavit is being submitted for the limited purpose of securing a search warrant, I
have not included each and every fact known to me regarding this investigation. I have set forth

only the facts that I believe are necessary to establish probable cause to support the issuance of a

search warrant.
TERMS
5. Based on my training and experience, I use the following technical terms and
definitions:
a. “Computer,” as used broadly herein, refers to “an electronic, magnetic,

optical, electrochemical, or other high speed data processing device performing logical or
storage functions, and includes any data storage facility or communications facility directly
related to or operating in conjunction with such device” and includes smartphones. See 18
U.S.C. § 1030(e)(1)

b. “Short Message Service” (“SMS”), as used herein, is a service used to send
text messages to mobile phones. SMS is also often referred to as texting, sending text
messages or text messaging. The service allows for short text messages to be sent from one

cell phone to another cell phone or from the Web to another cell phone.

Case 5:25-mj-00323-AMG Document1- Filed 05/19/25 Page 4 of 16

c. “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under the
age of eighteen years.
d. “Records,” “documents,” and “materials,” as used herein, include all

information recorded in any form, visual or aural, and by any means, whether in handmade,
photographic, mechanical, electrical, electronic, or magnetic form.

e. “Notes Application,” as used herein, refers to a digital tool commonly
available on computers, smartphones, and tablets, designed to facilitate the creation,
storage, and organization of written information by users.

FACTS OF INVESTIGATION

7. On March 26, 2025, Stratford Police Department (SPD) received information from
CheyAnne Strickler, an employee with the Department of Human Services (DHS). A referral was
made by a medical personnel, Brook Houck, who works at the Women’s Clinic at 807 N Monte
Vista in Ada, Oklahoma. The referral revealed that, on March 18, 2025, Christiana Parker brought
her daughter, identified in this affidavit as Jane Doe, to the clinic for an exam. Christiana told
Houck that Jane Doe had previously been seen at Urgent Care, and they determined Jane Doe was
pregnant. Christiana wanted a second opinion which is why she brought Jane Doe to the Woman’s
Clinic. Jane Doe told Houck that she had not had her period since November 2024. Jane Doe was
given an ultrasound which determined she was approximately eighteen weeks pregnant. This
would have put the time of conception very near Jane Doe’s sixteenth birthday which is November
_ 14. Houck stated that Christiana refused to leave the room for the exam, so it was likely Jane Doe
did not feel comfortable enough to disclose any information about the conception of the child.
Houck stated Jane Doe was emotional but denied ever having sex or experiencing any sexual

abuse.

Case 5:25-mj-00323-AMG Document1i- Filed 05/19/25 Page 5 of 16

8. Christiana told Houck that Jane Doe was homeschooled and is only around the
people who live in the residence. At the end of the appointment, a follow-up appointment was
scheduled for March 22, 2025. The appointment was missed and rescheduled for March 24, 2025.
Christiana called and cancelled the rescheduled appointment and stated that she would not be
making any more appointments.

9. On March 27, 2025, a forensic interview was conducted at the Mary Abbott House
in Norman, Oklahoma. During the interview, Jane Doe claimed she was not sexually active and
the furthest she had ever been with a boy, sexually, was a hug and a kiss on the cheek in the seventh
grade. Jane Doe believed the only possible way she could have become pregnant was from her
stepdad’s semen. Jane Doe was referring to Eren MOORE.! Jane Doe explained she and MOORE
use the same bathroom, and Jane Doe will sometimes shower after MOORE. Jane Doe believed
she became pregnant because she must have touched MOORE’s semen that was in the shower and
then touched herself. Jane Doe was asked about how she came to this conclusion. Jane Doe told
the interviewer it was a family discussion between Jane Doe, MOORE, and Christiana about how
Jane Doe became pregnant. During the conversation, MOORE was the one that connected the dots
and figured out the shower situation was the only explanation of how Jane Doe could be pregnant.
Jane. Doe was asked how her parents felt about her pregnancy. Jane Doe stated MOORE feels
horrible because it was an accident, and he keeps apologizing to her. Jane Doe stated Christiana is
more frazzled than anyone else.

10. Inher forensic interview, Jane Doe stated that she is homeschooled and does not

go out a lot. Jane Doe stated MOORE is the only male she is ever around. MOORE and Jane Doe

' Christiana and Moore are not legally married but have lived together and been in a romantic
relationship since Jane Doe moved back to Oklahoma when she was 14. Jane Doe identified
MOORE as her stepfather in the forensic interview.

Case 5:25-mj-00323-AMG Document1- Filed 05/19/25 Page 6 of 16

stay home together during the day, while Christiana goes to work. No other males live in the
residence or have regular access to Jane Doe besides MOORE. Jane Doe stated she is not the type
of kid to sneak out of the house. Jane Doe described her and Moore as having a very close
relationship. Jane Doe stated MOORE was a safe space for her and she could talk to MOORE
about anything.

11. After the interview concluded, Jane Doe’s cell phone (SUBJECT DEVICE 1) and
Christiana’s cell phone were seized by SPD. DHS advised that the children needed to be taken into
protective custody. Jane Doe and her one sibling are in the custody of their maternal grandmother.
Law enforcement officers secured MOORE and Christiana’s residence in preparation to obtain a
search warrant. Law enforcement officers observed a black Samsung phone in a black case
(SUBJECT DEVICE 2) next to MOORE’s wallet. Officers believed this phone belonged to
MOORE.

12. On March 27, 2025, SPD and Chickasaw Lighthorse Police executed a Chickasaw
Nation tribal search warrant at the residence located at 601 E Murray Street, Apartment 13,
Stratford, Oklahoma, within the boundaries of the Chickasaw Nation. During the warrant,
SUBJECT DEVICE 2 and other electronic devices were seized from the residence. MOORE is an
enrolled member in Chickasaw Nation.

13. On April 1, 2025, FBI agents were informed by DHS case worker Strickler that
MOORE disclosed he had “slept with” Jane Doe. Strickler explained, on March 30, 2025, Strickler
received a phone call from MOORE and he stated in December 2024 he had been drinking and is
a “lightweight.” MOORE was under a lot of stress and having a bad day. Jane Doe came into the
bedroom to try and cheer MOORE up. Jane Doe climbed on top of MOORE and kissed him.

MOORE knew it was wrong, but MOORE did not think about Jane Doe’s age at the time. MOORE

Case 5:25-mj-00323-AMG Document1 - Filed 05/19/25 Page 7 of 16

stated it was not intentional and he did not groom Jane Doe. MOORE stated everything was

consensual.

14. On March 31, 2025, DHS conducted a child safety meeting with MOORE and
Christiana. At the child safety meeting, MOORE confessed again, but with more information.
MOORE retold the story from the December incident. MOORE said Jane Doe climbed on top of
him and kissed him, then they engaged in sexual intercourse. MOORE stated he and Jane Doe had
sexual intercourse twice in November 2024 and once in December 2024. MOORE stated Jane Doe
told MOORE that she had feelings for him and MOORE reciprocated those feelings, but they could
not do anything because it was wrong. Moore stated they waited until Jane Doe turned sixteen
before anything sexual happened. MOORE described Jane Doe as “so mature for her age.”
MOORE stated Jane Doe is a pretty girl, and when she came up to him, he did not consider her
age. MOORE stated multiple times that everything was consensual, and everything occurred after
Jane Doe turned sixteen. MOORE stated, prior to Jane Doe’s sixteenth birthday, they did not do
any “sex things,” but they would sometimes hold hands. MOORE restated during the child safety
meeting, after Jane Doe turned sixteen, they had sex. MOORE and Jane Doe talked about their
feelings and kissed prior to that day. MOORE stated he cares for Jane Doe in a way that he should .
not, but he does, and he does not know how to handle it. MOORE stated Jane Doe told him that
she was sixteen and it would be consensual. MOORE knew it was wrong, but he still did it.
MOORE stated this was all his fault, and he feels awful.

15. After the child safety meeting, Strickler visited Jane Doe and brought up how
MOORE told Strickler everything to see Jane Doe’s reaction. Jane Doe told Strickler about how
well MOORE and Jane Doe got along and stated everything that happened was consensual.
MOORE never forced himself on to Jane Doe and Jane Doe did not see MOORE as.a pedophile.

Jane Doe does not believe that MOORE is attracted to other females her age, and believes MOORE

Case 5:25-mj-00323-AMG Document1- Filed 05/19/25 Page 8 of 16

is only attracted to Jane Doe. Jane Doe told Strickler they did not have sexual intercourse prior to
her turning sixteen, but there was a lot of build up between them before she turned sixteen. Jane
Doe wants to have a relationship with MOORE, even if he goes to prison. Jane Doe disclosed she
and MOORE would either have sexual intercourse in the hallway or in the kitchen of their
residence while her younger sibling was asleep in the bedroom. Jane Doe told Strickler, she and
MOORE did not discuss their relationship through text but communicated through the Discord
application ? on her phone. Jane Doe stated they talked about her pregnancy through Discord.

16. On April 2, 2025, Chickasaw Lighthorse Police received a phone call from
Christiana to report MOORE was missing. Christiana also reported that MOORE had left what she
believed was a suicide note on a phone (SUBJECT DEVICE 3) that MOORE had left at
Christiana’s home. Christiana reported that the suicide note was found in the notes application on
the phone (SUBJECT DEVICE 3). She also reported that the suicide note indicated MOORE was
not a monster and would be where his brother was beat up. Christiana believed this to be the Byars
Bridge in Byars, Oklahoma. Christiana told law enforcement officers MOORE took a firearm with
him, and she did not know where he was located.

17. | When officers responded to the residence, Christiana further explained to law
enforcement officers that she woke up with a handwritten note and MOORE’s newly purchased
smartphone (SUBJECT DEVICE 3) next to her bed. Christiana stated the note told her to look at
the phone (SUBJECT DEVICE 3). Christiana showed law enforcement officers a portion of a

video MOORE recorded on SUBJECT DEVICE 3. The video was a self-recorded video of

2 The Discord application allows for users to communicate through text, voice, and video. The
Discord application can be accessed on a wide range of digital devices including but not limited
to, Windows, MacOS, iOS, Android, Xbox, and PlayStation.

Case 5:25-mj-00323-AMG Document1 = Filed 05/19/25 Page 9 of 16

MOORE talking into SUBJECT DEVICE 3. MOORE appeared to be confessing to his relationship
and sexual acts with Jane Doe. On April 2, 2025, SPD seized SUBJECT DEVICE 3.

18. On April 3, 2025, Chickasaw Lighthorse Police charged MOORE with Child
Sexual Abuse and obtained a Chickasaw Nation tribal arrest warrant for MOORE. On April 3,
2025, SPD charged Christiana with child neglect and obtained an arrest warrant for her through
the State of Oklahoma, Garvin County. On April 3, 2025, Christiana was arrested and interviewed
by law enforcement officers. Christiana then disclosed the truth about what happened the morning
of April 2, 2025. Christiana stated that MOORE left the apartment that morning with blankets and
some food. Christiana believed MOORE was hiding in the woods, but she did not know his exact
location. MOORE told Christiana if she needed to contact him, she could drive down a certain
road and honk her horn, then MOORE would come out to the road. On the evening of April 3,
2025, Moore was located in the woods between Stratford, Oklahoma and Byars, Oklahoma and
was arrested by Chickasaw Lighthorse Police on the tribal arrest warrant.

SPECIFICS OF SEARCH AND SEIZURE OF CELL PHONES

19. Searches and seizures of evidence from smartphones commonly require agents to
download or copy information from the smartphones and its components, such as a flash drive or
other digital storage units attached to the phone, to be processed later by a qualified computer
expert in a laboratory or other controlled environment. This is almost always true for the following
two reasons:

a. Smartphone devices (like hard disks, diskettes, tapes, laser disks, magneto
opticais, and others) can store the equivalent of thousands of pages of information.
Especially when the user wants to conceal criminal evidence, he or she often stores it in
random order with deceptive file names. This requires searching authorities to examine all

of the stored data that is available in order to determine whether it is included in the warrant

Case 5:25-mj-00323-AMG Document1 Filed 05/19/25 Page 10 of 16

that authorizes the search. This sorting process can take days or weeks, depending on the

volume of data stored, and is generally difficult to accomplish on-site.

b. Searching smartphones for criminal evidence is a highly technical process
requiring expert skill and a properly controlled environment. The vast array of smartphone
hardware and software available requires even computer experts to specialize in some
systems and applications, so it is difficult to know before a search which expert should
analyze the system and its data. The search of a smartphone system is an exacting scientific
procedure that is designed to protect the integrity of the evidence and to recover even
hidden, erased, compressed, password-protected, or encrypted files. Since smartphone
evidence is extremely vulnerable to tampering or destruction (which may be caused by
malicious code or normal activities of an operating system), the controlled environment of
a laboratory is essential to its complete and accurate analysis.

20. In order to fully retrieve data from a smartphone system, the analyst needs all
magnetic storage devices as well as the central processing unit (“CPU”). In cases involving child
exploitation where the evidence frequently includes graphics files, the monitor(s) may be essential
for a thorough and efficient search due to software and hardware configuration issues. In addition,
the analyst needs all of the system software (operating systems or interfaces, and hardware drivers)
and any application software which may have been used to create the data (whether stored on hard
drives or on external media).

21. Furthermore, because there is probable cause to believe that the smartphone and its
storage devices are all instrumentalities of crimes they should all be seized as such.

SEARCH METHODOLOGY TO BE EMPLOYED REGARDING ELECTRONIC DATA

22. The search procedure for electronic data contained in smartphone hardware,

smartphone software, and/or memory storage devices may include the following techniques (the

Case 5:25-mj-00323-AMG Documenti- Filed 05/19/25 Page 11 of 16

following is a non-exclusive list, as other search procedures may be used):

a. on-site triage of smartphone systems to determine what, if any, storage
devices or digital storage units have been connected to such smartphone systems, a
preliminary scan of image files contained on such systems and digital storage devices to
help identify any other relevant evidence or potential victims, and a scan for encryption
software;

b. on-site forensic imaging of any computers that may be partially or fully

_ encrypted, in order to preserve unencrypted electronic data that may, if not immediately
imaged on-scene, become encrypted and accordingly unavailable for examination; such
imaging may require several hours to complete and require law enforcement agents to
secure the search scene until that imaging can be completed;

Cc. examination of all of the data contained in such smartphone hardware,
smartphone software, or memory storage devices to view the data and determine whether
that data falls within the items to be seized as set forth herein;

d. searching for and attempting to recover any deleted, hidden, or encrypted
data to determine whether that data falls within the list of items to be seized as set forth
herein (any data that is encrypted and unreadable will not be returned unless law
enforcement personnel have determined that the data is not (1) an instrumentality of the
offense, (2) a fruit of the criminal activity, (3) contraband, (4) otherwise unlawfully

possessed, or (5) evidence of the offense specified above);

e. surveying various file directories and the individual files they contain;
f. opening files in order to determine their contents;
g. scanning storage areas;

h. performing key word searches through all electronic storage areas to

Case 5:25-mj-00323-AMG Documenti- Filed 05/19/25 Page 12 of 16

determine whether occurrences of language contained in such storage areas exist that are
likely to appear in the evidence described in Attachment B; and

i. performing any other data analysis technique that may be necessary to
locate and retrieve the evidence described in Attachment B.

CONCLUSION

23. In my training and experience, and in consultation with other Law Enforcement
Officers that perform these types of investigations, conversations are commonly had via text
message or other messaging applications between the underage victims and their abusers or other
close family or friends regarding the abuse.

24. Based on the above information, there is probable cause to believe that the
foregoing laws have been violated, and that evidence of these offenses are located on the
SUBJECT DEVICES.

25. Based upon the foregoing, | respectfully request that this Court issue a search
warrant for the SUBJECT DEVICES, described in Attachment A, authorizing the seizure of the

items described in Attachment B to this affidavit.

aige Léfig \) \|

Special Agent
Federal Bureau of Investigation

SUBSCRIBED AND SWORN to before me this _/ G day of May, 2025.

AMANDA MAXFIE
United States Magistrate Judge

Case 5:25-mj-00323-AMG Documenti- Filed 05/19/25 Page 13 of 16

ATTACHMENT A

DESCRIPTION OF SUBJECT DEVICE

SUBJECT DEVICE 1 — One Blue Motorola Phone in a black case

SUBJECT DEVICE 2 - One Black Samsung Phone IMEI: 353495111151580

Subject Device 2

Case 5:25-mj-00323-AMG Documenti- Filed 05/19/25 Page 14 of 16

SUBJECT DEVICE 3 — One Dark Blue Samsung Phone IMEI: 359606631551166

Case 5:25-mj-00323-AMG Documenti1 Filed 05/19/25 Page 15 of 16

ATTACHMENT B

LIST OF ITEMS TO BE SEIZED

1. All records on SUBJECT DEVICES described in Attachment A that relate to
violations of 18 U.S.C. § 1153 and 21 O.S. § 843.5(E) (Child Sexual Abuse), including:

a. Evidence of user attribution showing who used or owned the SUBJECT
DEVICES;

b. records relating to communication between MOORE and Jane Doe, MOORE
and Christiana, and any other communication relating to the criminal offense
above, to include those that have been deleted, including: incoming and
outgoing voice messages; text messages; Discord messages; emails; multimedia
messages; applications that serve to allow parties to communicate; all call logs;
secondary phone number accounts, including those derived from Skype, Line
2, Google Voice, and other applications that can assign roaming phone
numbers; and other Internet-based communication media;

c. records relating to documentation or memorialization of the criminal offenses
above, including voice memos, notes, photographs, videos, and other audio and
video media, and all ExIF information and metadata attached thereto including
device information, geotagging information, and information of the relevant
dates to the media;

d. records relating to the planning and execution of the criminal offense above,
including Internet activity, including firewall logs, caches, browser history, and

cookies, “bookmarked” or “favorite” web pages, search terms that the user

Case 5:25-mj-00323-AMG Documenti1_ Filed 05/19/25 Page 16 of 16

entered any Internet search engine, records of user-typed web addresses,
account information, settings, and saved usage information;

€. application data relating to the criminal offenses above;

f. any and all forms of child pornography, whether it be in the form of images,
video, audio files, or any other form; and

g. all records and information related to the geolocation and travel records of
SUBJECT DEVICES at a specific point in time.

2. As used above, the terms “records” and “information” include all of the foregoing
items of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic form.

3. A search of the physical device to collect any device identifiers, serial numbers, or

other identifiers.

